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                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

SCOTT LOUIS PANETTI,                                      §
                                                          §
                           Petitioner,                    §
                                                          §
v.                                                        §       CIVIL ACTION NO. A-04-CA-042-RP
                                                          §
BOBBY LUMPKIN, Director,                                  §            * DEATH PENALTY CASE *
Texas Department of Criminal Justice,                     §
Correctional Institutions Division,                       §
                                                          §
                           Respondent.                    §

                           ORDER SETTING EVIDENTIARY HEARING

         The sole issue before the Court is whether Petitioner is currently competent to be

executed under the standard set forth in Ford v. Wainwright, 477 U.S. 399 (1986), and Panetti v.

Quarterman, 551 U.S. 930 (2007).                As this issue is legally straight forward but factually

intensive, the Court will not be aided by any further briefing by the parties, but will instead base

its determination primarily on live testimony and evidence presented to the Court. To that end,

an evidentiary hearing will be scheduled to “determine afresh [Petitioner]’s competency to be

executed.” Panetti v. Davis, 863 F.3d 366, 378 (5th Cir. July 11, 2017) (emphasis added); (ECF

No. 186). 1

         Accordingly, it is hereby ORDERED that:

         1.       An evidentiary hearing will be held beginning Tuesday, October 11, 2022, at

9:00 a.m. in Courtroom 4, on the fifth floor of the United States Courthouse, 501 W. Fifth Street,

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          Fifth Circuit precedent indicates that a petitioner’s Ford claim normally does not become ripe until after an
execution date has been scheduled. ShisInday v. Quarterman, 511 F.3d 514, 521-22 (5th Cir. 2007) (holding that
the setting of an execution date “causes a Ford-based incompetency claim to become ripe.”) (citing Stewart v.
Martinez-Villareal, 523 U.S. 637, 643, (1998)). In this case, an execution date was originally scheduled prior to the
Fifth Circuit staying the execution date and ultimately remanding the case with instructions to “conduct any further
proceedings to determine afresh [Petitioner]’s competency to be executed.” (ECF No. 186 at 19). Because the Fifth
Circuit specifically remanded for a competency determination, and both parties have represented to the Court that
they consider Petitioner’s execution imminent, the Court will consider Petitioner’s Ford claim to be ripe for review.
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Austin, Texas 78701. The hearing, which is to last no longer than four days, will allow the

parties to present testimony and other evidence concerning Petitioner’s present competency to be

executed and will address:

       “not only [Petitioner]’s factual awareness of the crime, the impending execution,
       and the state’s reason for executing [him], but also some degree of ‘rational
       understanding’ of the connection between the crime and the punishment[.]”
       Panetti v. Stephens, 727 F.3d 398, 406 (5th Cir. 2013).

       2.       TDCJ Records:         Respondent has previously agreed to provide Petitioner’s

counsel with Petitioner’s TDCJ records—including medical records and non-legal audio

recordings—every three months until the hearing takes place. (ECF Nos. 193, 206). To the

extent this obligation has not been met, Respondent shall provide these records to counsel for

Petitioner on or before 180 days prior to the start of the evidentiary hearing and will update these

records every three months until the hearing takes place.

       3.       Discovery:    The parties shall move for any further discovery on or before 180

days prior to the start of the evidentiary hearing and discovery shall be completed within 120

days of the hearing.

       4.       Expert Witnesses:     On or before 60 days prior to the start of the evidentiary

hearing, each party must submit to the Court and opposing counsel a list of all experts who may

testify at the hearing. The parties shall also serve on opposing counsel the materials required

under Federal Rule of Civil Procedure 26(a)(2)(B), including any testing data, notes, or reports

generated by these experts.

       5.       Witness/Exhibit Lists:        On or before 30 days prior to the start of the

evidentiary hearing, each party must submit to the Court and opposing counsel a list of the

witnesses and exhibits each party intends to present at the hearing, along with a brief summary of

each witness’s proposed testimony. The parties shall also exchange exhibit binders containing


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any exhibit, record, or report—properly labeled and numbered—they wish the Court to consider

in determining Petitioner’s current competency to be executed.

       It is further ORDERED that the Clerk of the Court shall issue the appropriate writ of

habeas corpus ad testificandum to the Director of the Texas Department of Criminal Justice,

Correctional Institutions Division, and to the warden of the Allan Polunsky Unit, 3872 FM 350

South, Livingston, Texas, 77351, directing them to transport Petitioner to Austin, Texas, on or

before the above date in order to participate in this hearing.

       It is further ORDERED that the warden of the Polunsky Unit, or whosoever may have

custody of Petitioner, shall permit the parties and their experts to visit and examine Petitioner for

the purposes of evaluating Petitioner’s current competency to be executed.

       It is further ORDERED that Petitioner shall cooperate with all experts who wish to

conduct a mental health examination. Petitioner is advised that any failure on his part to

cooperate with the efforts of either Respondent’s experts or his own will be taken into

consideration by this Court in determining his competency to be executed.

       Finally, the parties are warned that no requests to reschedule the evidentiary hearing

will be entertained. Any party seeking an extension of any of the other deadlines contained

herein shall file a formal motion requesting such extension prior to the applicable deadline and

show why, despite the exercise of diligence, the party is unable to comply with this Order in a

timely manner.

       SIGNED this 6th day of January, 2022.




                                                      ROBERT PITMAN
                                                      UNITED STATES DISTRICT JUDGE


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